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 9    Jamal Johnson
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11
                                UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
      JAMAL JOHNSON, individually and on      CASE NO. 5:19-cv-02456-FMO-SP
14    behalf of others similarly situated,
                                              [Assigned to Hon. Fernando M. Olguin]
15                        Plaintiff,
                                              CLASS ACTION
16    v.
17    MOSS BROS. AUTO GROUP, INC.,            STATUS REPORT
      California Corporation,                 RE: SETTLEMENT
18
                          Defendant.
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                                              Complaint Filed: December 20, 2019
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                                        STATUS REPORT
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 1
            Plaintiff Jamal Johnson and Defendant Moss Bros. Auto Group, Inc., by and
 2
      through their respective undersigned counsel hereby advise the Court that the parties
 3
      attended a Mediation on April 30, 2020 but were unable to reach a settlement.
 4

 5    DATED: May 11, 2020                   EISENBAND LAW, P.A.
 6

 7                                          By:    /s/Michael Eisenband
                                                   Michael Eisenband
 8
                                                   Attorney for Plaintiff,
 9                                                 Jamal Johnson
10

11    DATED: May 11, 2020                   GREENBERG TRAURIG, LLP
12

13
                                            By:    /s/ Gregory A. Nylen
14                                                 Gregory A. Nylen
                                                   Yoon Jee Kim
15
                                                   Attorneys for Defendant,
16                                                 Moss Bros. Auto Group, Inc.
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                                           STATUS REPORT
